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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION

                               CASE NO. 23-80101-CR-CANNON

  UNITED STATES OF AMERICA,

         Plaintiff,
  v.

  DONALD J. TRUMP,
  WALTINE NAUTA, and
  CARLOS DE OLIVEIRA,

         Defendants.
                                       /

       ORDER DENYING WITHOUT PREJUDICE DEFENDANT TRUMP’S MOTION
       TO DISMISS COUNTS 1–32 BASED ON UNCONSTITUTIONAL VAGUENESS

         THIS CAUSE comes before the Court upon Defendant Trump’s Motion to Dismiss

  Counts 1 through 32 Based on Unconstitutional Vagueness (the “Motion”), filed on February 22,

  2024 [ECF No. 325]. The Special Counsel filed a Response in Opposition [ECF No. 377], to

  which Defendant Trump filed a Reply [ECF No. 398]. The Court heard argument on the Motion

  on March 14, 2024 [ECF No. 401]. Upon careful review of the Motion, related filings, and the

  arguments raised during the hearing, Defendant’s Motion is DENIED WITHOUT PREJUDICE.

         Defendant Trump seeks dismissal of Counts 1 through 32 of the Superseding Indictment

  on the ground that the statutory phrases “unauthorized possession,” “relating to the national

  defense,” and “entitled to receive” appearing in 18 U.S.C. § 793(e) are unconstitutionally vague

  as applied under the facts presented, in violation of due process and the rule of lenity. Although

  the Motion raises various arguments warranting serious consideration, the Court ultimately

  determines, following lengthy oral argument, that resolution of the overall question presented

  depends too greatly on contested instructional questions about still-fluctuating definitions of
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  statutory terms/phrases as charged, along with at least some disputed factual issues as raised in the

  Motion. For that reason, rather than prematurely decide now whether application of 18 U.S.C.

  § 793(e) in these circumstances yields unsalvageable vagueness despite the asserted judicial

  glosses, the Court elects to deny the Motion without prejudice, to be raised as appropriate in

  connection with jury-instruction briefing and/or other appropriate motions.

          Accordingly, it is hereby ORDERED AND ADJUDGED that Defendant Trump’s Motion

  to Dismiss Counts 1 through 32 Based on Unconstitutional Vagueness [ECF No. 325] is DENIED

  WITHOUT PREJUDICE.

          DONE AND ORDERED in Chambers at Fort Pierce, Florida, this 14th day of March

  2024.



                                                           _________________________________
                                                           AILEEN M. CANNON
                                                           UNITED STATES DISTRICT JUDGE




  cc:     counsel of record




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